-6&$1' 5HY                Case 4:22-cv-00263-JSW Document 1-1 Filed 01/13/22 Page 1 of 1
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            STEPHEN BRATSET                                                                                       EXEL INC. dba DHL SUPPLY CHAIN
      E     &RXQW\RI 5HVLGHQFHRI)LUVW/LVWHG 3ODLQWLII                                                       &RXQW\ RI5HVLGHQFHRI)LUVW/LVWHG'HIHQGDQW
            (EXCEPT IN U.S. PLAINTIFF CASES)                                                                    (IN U.S. PLAINTIFF CASES ONLY)
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      F      $WWRUQH\V(Firm Name, Address, and Telephone Number)                                               $WWRUQH\V(If Known)
 Michael J. Reed, Esq., Attorney at Law                                                                      Fisher & Phillips LLP - 2050 Main Street, Suite 1000, Irvine, CA 92614, (949) 851-2424
 60 Creek Tree Lane, Alamo, CA 94507, (925) 743-8353                                                         Fisher & Phillips LLP - One Embarcadero Center, Ste. 2050, San Francisco, CA 94111, (415) 490-9000

,,         %$6,62)-85,6',&7,21(Place an “X” in One Box Only)                                  ,,, &,7,=(16+,32)35,1&,3$/ 3$57,(6 (Place an “X” in One Box for Plaintiff
                                                                                                       (For Diversity Cases Only)                                       and One Box for Defendant)
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   )RUHFORVXUH                                                           *HQHUDO
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